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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA » Feb 7.

(TAMPA DIVISION) ‘ / 1 2:03 ji
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CHRISTOPHER MARK PARIS, and wee 1 “st 2 goen
OXEBRIDGE QUALITY RESOURCES AOE Opa
INTERNATIONAL, LLC

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Plaintiffs, Case No. 8:19-cv-00423

VS.

WILLIAM LEVINSON,
LEVINSON PRODUCTIVITY
SYSTEM, PC, a Pennsylvania
Corporation

DEFENDANTS' AFFIDAVIT IN SUPPORT OF
MOTION FOR PROOF OF JURISDICTION

STATE OF FLORIDA /
COUNTY OF HILLSBOROUGH /

DARYL GUBERMAN, as pro se being first duly sworn on oath deposes
and says to the best of his knowledge:

1. All business customers of defendant Daryl Guberman are independent of all
business customers of defendant Donald LaBelle.

2. [have no affiliation with, financial interests, or awareness of the Florida
“contacts” alleged by the plaintiff.

3. Daryl Guberman does not have ‘significant contacts’ in Florida as alleged by the
Plaintiff.

4, I have not distributed any form of alleged defamatory material as alleged by the
Plaintiff. Nor am I aware of any material being distributed.

5. I deny knowing the location of the Plaintiff during a recorded phone call and can
provide a written statement.

6. I deny committing a tort within Florida. The plaintiff must demonstrate a tort was
committed, and the “federal law” alleged to have been violated.

 

 
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7. [deny ever harassing AM Metals as alleged by the Plaintiff. To the best of my
knowledge, I've never spoken directly to or communicated by phone or email with
the company AM Metals. The owner or represented of AM Metals must step
forward with an affidavit showing proof of the alleged “harassment.”

8. I deny the following companies to be customers of mine as alleged by the
Plaintiff, including Collins Manufacturing (Apopka, FL), Florida Metal Craft
(Winter Garden, FL), Innovative Products of Florida (St. Petersburg, FL), The
Stimpson Company (Pompano Beach, FL), and UltraTech International
(Jacksonville, FL).

9. I deny ever knowingly making a false statement about the Plaintiff, published or
spoken. Under Florida law for libel or slander, the Plaintiff must demonstrate that
the defendant published or spoken a false statement.

10. I did not at any time submit alleged “false” DMCA's as the plaintiff claims. The
plaintiff must step forward with evidence of any DMCA's filed under my name
alleged to be “false.”

11. CHRISTOPHER MARK PARIS filed for Chapter 7 Bankruptcy 2016 in which
he indicates on official public record the value of his business OXEBRIDGE
QUALITY RESOURCES to have a net worth of $0.

12. Despite the plaintiff's claim of being “harassed” by the defendant, the plaintiff
has been disparaging the defendant for over 7 years in a ongoing smear campaign.
The court has been provided with over 400 pages of the plaintiff's smear
campaign against the defendant.

13. The plaintiff filed a false complaint against the wife of the defendant at her
placement on employment to embarrass her among her peers. Ms. Guberman is a
doctor. Further, he has written is a defamatory manner about Ms. Guberman
numerous times Oxebridge.com, which has been dubbed as a ‘hate site.' The
defendant and defendant's wife are both Jewish.

14. During these court proceedings, the plaintiff filed a false complaint with the
Federal Election Commission (FEC: MUR 7665 10/28/2019) and misled the
Commission by claiming the defendant is engaging in “illegal” political
donations. The plaintiff's conduct was to further harass and intimidate the
defendant.

15. The plaintiff continually contacts the customers of Guberman in attempt to
defame the defendant by claiming he is “unaccredited” or a so-called “certificate
mill.” These malicious acts by the plaintiff have been going on for over 7 years

16. On many occasions, when calling/e-mailing the defendant's customers, the
plaintiff, CHRISTOPHER PARIS, will threaten the business owner with a “robust
lawsuit” if they continue to do business with Guberman.

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17. Even during these proceedings, after a recent hearing, the plaintiff continued his
campaign disparaging defendant(s). Today, January 30", 2020 Paris posted
material on his website to further harass defendant at the following link (hard

copy provided to court) https:/Avww.oxebridge.com/emma/quberman-pmc-operators-
ruled-in-contempt-of-court-in-federal-oxebridge-defamation-case/

18.. The plaintiffs conduct clearly demonstrates he is weaponizing the court to
continue harassing defendant. Defendant demands plaintiff to provide the purpose
for his latest attack during these proceedings while playing “victim” in this matter.

19. At no time have I posted articles of any nature about the plaintiff on the website
RippoffReport.com as alleged by Paris. Further, defendant Levinson took the
responsibility of being the author of the SAME RipoffReport articles alleged by
the plaintiff with certainty to be posted by defendant Guberman and defendant
Labelle. The plaintiff's false allegation of which defendant, if any, authored the
articles clearly demonstrates the claim to be factually insufficient and reason for
this matter being dismissed with prejudice.

ALLEGATIONS IN CONTROVERSY TO
BE ANSWERED BY THE PLAINTIFF
UNDER PENALTLY OF PERJURY

To all it may concern, this Affidavit is not to be ignored or quashed without my written
consent on PAPER and bearing my signature as witness. The court is asked to either
rebut or acquiesce this filing. If this affidavit is ignored by the plaintiff, or quashed by
the Court, then defendant will consider the filing to have been deliberately ignored.
Further, if this affidavit is deliberately ignored/quashed, a Notice of Default in Dishonor
may be in order.

Herewith, this motion is of critical IMPORTANCE to resolve this matter by compelling
discovery and clarifying the allegations in question which the defendant believes to be
frivolous and relying heavily on false and misleading statements. The defendant believes
this claim is yet another malicious act of the plaintiff in his ongoing campaign against
his business competitor Daryl Guberman as well as Guberman's family and friends as
shown in verifiable documents provided to the court. I'm the victim in this matter. Not
the plaintiff as evidence shows, and this affidavit will confirm.

Defendant hereby reserves the right with this filing to have the burden of proof placed
on the plaintiff and to demand the plaintiff to FINALLY demonstrate properly his
allegations in controversy. Thus far, as the record shows, the Plaintiff has either refused
and/or ignored factual contentions when such contentions were warranted. Particularly,
the defendant's Motion for Proof of Jurisdiction in which the defendant asked for proof
of the alleged contacts, alleged tort, and/or any other activities within Florida.

 

 
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This action is brought forward to compel discovery, clarify conflicting information in
the plaintiff's claim, and additionally to recover costs for the State of Florida, including
court costs for a frivolous claim believed to be false and misleading, and a burden on the
court, and abuse of taxpayers and state/federal resources.

Under penalty of perjury, the averments are true to the best of the affiant's knowledge.

Dated at Stratford, Connecticut this 30" day of January 2020.

Daryl Guberman

  
 
 

Signature:

Notary: Pgh) purtay
Name: bpife

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Signature: / We
Date: January 30, 2020

Notary seal or signature

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Cc. Delivered certified (UPS) To Plaintiffs Attorney.

 

Glen Shrayer a
912 South Andrews Avenue 1202 “e499 font : = _ bach |
Fort Lauderdale, FL 33316 SHO

 

 

 

 
